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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

LAURIE BROWN; OLUWAKEMI FOSUDO;
and ABIGAIL MUSICK                                                             PLAINTIFFS

V.                              CASE NO. 5:24-CV-5144

WALMART, INC.                                                                  DEFENDANT

                                  OPINION AND ORDER

       Now before the Court is Defendant Walmart’s Motion to Compel Arbitration (Doc.

25), Plaintiffs’ Response in Opposition (Doc. 33), Walmart’s Reply (Doc. 37), and

Plaintiffs’ Sur-Reply (Doc. 40). For the following reasons, Walmart’s Motion to Compel

Arbitration is GRANTED.

       The parties agree that an enforceable arbitration agreement exists but disagree

whether it applies to Plaintiffs’ claims. Therefore, the first question the Court must resolve

is who decides whether Plaintiffs’ claims are arbitrable, the Court or the arbitrator.

Walmart contends that the arbitration agreement delegates the question of arbitrability to

the arbitrator. Plaintiffs respond that such delegation does not apply to their claims

because they are specifically excluded from the arbitration agreement.

       Plaintiffs in this case purchased video materials on Walmart.com. They allege that

Walmart systematically transmits its customers’ video viewing information to a third party,

Meta, via a program on Walmart’s website called “Meta Pixel,” which links a Walmart.com

user’s video purchase history to their Facebook account. This, Plaintiffs allege, violates

the Video Privacy Protection Act, which makes a “video tape service provider” liable for

“actual damages but not less than liquidated damages in an amount of $2,500” if the



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provider “knowingly discloses, to any person, personally identifiable information

concerning any consumer of such provider.” 18 U.S.C. § 2710(b)–(c).

       Before making a purchase on Walmart.com, the user must agree to Walmart’s

Terms of Use (“TOU”). The TOU contains an “Arbitration Agreement” which provides as

follows:

       EXCEPT FOR DISPUTES THAT QUALIFY FOR SMALL CLAIMS COURT,
       YOU AGREE THAT ALL DISPUTES ARISING OUT OF OR RELATED TO
       THESE TERMS OF USE OR ANY ASPECT OF THE RELATIONSHIP
       BETWEEN YOU AND WALMART, INCLUDING ANY PRODUCTS OR
       SERVICES OFFERED OR SOLD BY WALMART OR THE WALMART
       ENTITIES, WHETHER BASED IN CONTRACT, TORT, STATUTE,
       FRAUD, MISREPRESENTATION, OR ANY OTHER LEGAL THEORY,
       WILL BE RESOLVED THROUGH FINAL AND BINDING ARBITRATION
       BEFORE A SINGLE NEUTRAL ARBITRATOR INSTEAD OF IN A COURT
       BY A JUDGE OR JURY. EXCEPT AS OTHERWISE PROVIDED IN THESE
       TERMS OF USE, YOU AND WALMART AGREE THAT EACH IS WAIVING
       THE RIGHT TO SUE IN COURT AND TO HAVE A TRIAL BY A JURY.

(Doc. 26, ¶ 20.1). The TOU further provide that “The arbitration will be administered by

the AAA [American Arbitration Association] pursuant to the current AAA Consumer

Arbitration Rules, except to the extent modified by these Terms of Use. The AAA rules

and instructions are available on the AAA website at www.adr.org/consumer.” Id. at

¶ 20.4.

       The AAA rules state that “The arbitrator shall have the power to rule on his or her

own jurisdiction, including any objections with respect to the existence, scope, or validity

of the arbitration agreement or to the arbitrability of any claim or counterclaim.” Consumer

Arbitration   Rules,   Am.    Arb.    Ass’n,        R-14(a)   (effective   Sept.   1,   2014),

https://www.adr.org/sites/default/files/Consumer-Rules-Web_0.pdf

[https://perma.cc/T57T-JCTF].




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       Under the Federal Arbitration Act, 9 U.S.C. §§ 1–16, “arbitration is a matter of

contract, and courts must enforce arbitration contracts according to their terms.” Henry

Schein, Inc. v. Archer & White Sales, Inc., 586 U.S. 63, 67 (2019). Parties can contract

to arbitrate “‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed

to arbitrate or whether their agreement covers a particular controversy.” Id. at 68 (internal

quotation marks omitted) (quoting Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68–69

(2010)).

       Interpretation of arbitration agreements is generally a matter of state law. First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995). However, “courts should

not assume that the parties agreed to arbitrate arbitrability unless there is ‘clear and

unmistakable’ evidence that they did so.” Id. (cleaned up) (quoting AT&T Techs., Inc. v.

Commc'ns Workers of Am., 475 U.S. 643, 649 (1986)). The Arkansas Supreme Court has

held that the incorporation of the AAA Rules in a broadly worded arbitration provision

“manifests a clear and unmistakable intent to arbitrate the questions of arbitrability.” HPD,

LLC v. TETRA Techs., Inc., 2012 Ark. 408, at 11 (2012).

       Plaintiffs argue that their claims do not fall within the arbitration agreement

because they qualify for small claims court, and such claims are specifically excluded

from the arbitration agreement. Because, on Plaintiffs’ reading, these claims do not fall

within the arbitration agreement at all, the provision incorporating the AAA Rules,

including the AAA’s delegation rule, does not apply to them. Plaintiffs point to Horton v.

Dow Jones & Co., Inc., 2019 WL 952314 (S.D.N.Y. Feb. 27, 2019), aff'd, 804 F. App'x 81

(2d Cir. 2020). There, the court found that Plaintiffs claims, which qualified for small claims

court, were not arbitrable under an arbitration agreement similar to the one here.


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However, the court did not address the threshold question of who decides arbitrability,

perhaps because the agreement did not have a provision addressing that question. Here,

however, there is a delegation provision in the Agreement that the Court cannot simply

ignore.

       Even assuming that Plaintiffs’ claims fall within the small claims exception,

       [w]hen the parties' contract delegates the arbitrability question to an
       arbitrator, a court may not override the contract. In those circumstances, a
       court possesses no power to decide the arbitrability issue. That is true even
       if the court thinks that the argument that the arbitration agreement applies
       to a particular dispute is wholly groundless.

Henry Schein, 586 U.S. at 68. Here, under Arkansas law, the parties have manifested a

clear and unmistakable intent to delegate the question of arbitrability, “including any

objections with respect to . . . the arbitrability of any claim.” Consumer Arbitration Rules,

Am. Arb. Ass’n, R-14(a).

       IT IS THEREFORE ORDERED that the parties are COMPELLED TO

ARBITRATION. The Court declines to enter a formal stay of these proceedings. Instead,

the Clerk of Court is DIRECTED TO ADMINISTRATIVELY TERMINATE THE CASE, and

the parties may move to reopen it if further action of the Court is required after arbitration

has been concluded.

       IT IS SO ORDERED on this 31st day of January, 2025.



                                                    ______________________________
                                                    TIMOTHY L. BROOKS
                                                    UNITED STATES DISTRICT JUDGE




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